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(STRICT o2uR
wPLt HA PELIS DIYISIOR
UNITED STATES DISTRICT COURT eee
SOUTHERN DISTRICT OF INDIANA 18FEB-6 PMS: 23
INDIANAPOLIS DIVISION
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
V. ) Cause No. 1:18-cr-
)
DAVON GRAY, ) |
) ge e18-cr-0027 TWP -TAB
Defendant. )
INDICTMENT
The Grand Jury charges that:
COUNT ONE

| (Felon in Possession of a Firearm and Ammunition)
18 U.S.C. § 922(g)(1)

On or about January 11, 2018, within the Southern District of Indiana, Indianapolis
Division, and elsewhere within the jurisdiction of the Court, the defendant,
DAVON GRAY,
having been convicted of one or more felony crimes punishable by imprisonment for a term
exceeding one (1) year, to wit:

Robbery as a class B felony, Cause No. 49G05-1301-FB-004384, in Marion County
Superior Court, Indiana, on or about May 3, 2013, and;

Robbery as a class B felony, Cause No. 49G05-1212-FB-081823, in Marion County
Superior Court, Indiana, on or about May 3, 2013,

did knowingly possess in and affecting commerce a firearm and ammunition, to wit: a Glock
model 23 .40 caliber pistol bearing serial number SXA556, loaded with seven (7) rounds of 40

caliber ammunition.
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In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

FORFEITURE ALLEGATION

1. The allegations in Count One of this Indictment are realleged as if fully set forth here,
for the purpose of giving the defendant notice that the United States intends to seek forfeiture of
various property pursuant to Title 18, United States Code, Sections 924 and 2253, and Title 28,
United States Code, Section 2461.

2. If convicted of the offense set forth in Count One of the Indictment, DAVON GRAY,
defendant herein, shall forfeit to the United States the defendant’s interest in property seized by
law enforcement on or about January 11, 2018, including but not limited to

a) A Glock model 23 .40 caliber pistol bearing serial number SXA556, and;

b) Seven (7) rounds of .40 caliber ammunition.

A TRUE BILL:

 

JOSH J. MINKLER
UNITED STATES ATTORNEY

 

Jeffrey D ¢stoh
Assistant United States Attorney

 
